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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                                Chapter 11

Boy Scouts of America and Delaware BSA, LLC,1                         Bankruptcy Case No. 20-10343 (LSS)

                                                                      (Jointly Administered)
Old Republic Insurance Company,

                        Appellants,

                               v.                                     C.A. No. 22-cv-01239-RGA

Boy Scouts of America and Delaware BSA, LLC,

                        Appellee.

                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

          Pursuant to Local Rule 83.5 and the attached certification, counsel moves for the

 admissions pro hac vice of Margaret M. Anderson, Ryan T. Schultz, Adam A. Hachikian,

 and Kenneth M. Thomas, of Fox Swibel Levin & Carroll LLP, to represent Old Republic

 Insurance Company in this matter.


 Dated: October 6, 2022                               MORRIS JAMES LLP

                                                      /s/ Sarah M. Ennis
                                                      Sarah M. Ennis (DE Bar No. 5745)
                                                      500 Delaware Avenue, Suite 1500
                                                      Wilmington, DE 19801
                                                      Telephone: (302) 888-6853
                                                      E-mail: sennis@morrisjames.com

                                                      Counsel for Old Republic Insurance Company

 1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
 address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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                             ORDER GRANTING MOTION

             IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice of

Margaret M. Anderson, Ryan T. Schultz, Adam A. Hachikian, and Kenneth M. Thomas

is granted.



    Date: __________             ______________________________________
                                   United States District Court Judge




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       CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court,

am admitted, practicing and in good standing as a member of the Bar of the State of

Illinois, the State Bar of Texas (inactive status), the United States District Court for the

Northern District of Illinois, the United States Court of Appeals for the Fourth and Sixth

Circuits, and the United States Supreme Court, and pursuant to Local Rule 83.6 submit to

the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the

preparation or course of this action. I also certify that I am generally familiar with this

Court’s Local Rules. In accordance with Standing Order for District Court Fund effective

9/1/16, I further certify that the annual fee of $25.00 has been paid to the Clerk of Court,

or, if not paid previously, the fee payment will be submitted to the Clerk’s Office upon

the filing of this motion.


Dated: October 6, 2022                              /s/ Margaret M. Anderson
                                                    Margaret M. Anderson, Esq.
                                                    FOX SWIBEL LEVIN & CARROLL LLP
                                                    200 W. Madison Street, Suite 3000
                                                    Chicago, IL 60606
                                                    Telephone: (312) 224-1224
                                                    E-mail: panderson@foxswibel.com




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       CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court,

am admitted, practicing and in good standing as a member of the Bar of the State of

Illinois, and the United States District Court for the Northern District of Illinois, and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any

alleged misconduct which occurs in the preparation or course of this action. I also certify

that I am generally familiar with this Court’s Local Rules. In accordance with Standing

Order for District Court Fund effective 9/1/16, I further certify that the annual fee of

$25.00 has been paid to the Clerk of Court, or, if not paid previously, the fee payment

will be submitted to the Clerk’s Office upon the filing of this motion.


Dated: October 6, 2022                              /s/ Ryan T. Schultz
                                                    Ryan T. Schultz, Esq.
                                                    FOX SWIBEL LEVIN & CARROLL LLP
                                                    200 W. Madison Street, Suite 3000
                                                    Chicago, IL 60606
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                                                    E-mail: rschultz@foxswibel.com




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       CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court,

am admitted, practicing and in good standing as a member of the Bar of the State of

Illinois, and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this

Court for any alleged misconduct which occurs in the preparation or course of this action.

I also certify that I am generally familiar with this Court’s Local Rules. In accordance

with Standing Order for District Court Fund effective 9/1/16, I further certify that the

annual fee of $25.00 has been paid to the Clerk of Court, or, if not paid previously, the

fee payment will be submitted to the Clerk’s Office upon the filing of this motion.


Dated: October 6, 2022                              /s/ Adam A. Hachikian
                                                    Adam A. Hachikian, Esq.
                                                    FOX SWIBEL LEVIN & CARROLL LLP
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       CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court,

am admitted, practicing and in good standing as a member of the Bar of the State of

Illinois, the United States Court of Appeals for the Sixth Circuit, and the United States

District Court for the Northern District of Illinois, and pursuant to Local Rule 83.6 submit

to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in

the preparation or course of this action. I also certify that I am generally familiar with this

Court’s Local Rules. In accordance with Standing Order for District Court Fund effective

9/1/16, I further certify that the annual fee of $25.00 has been paid to the Clerk of Court,

or, if not paid previously, the fee payment will be submitted to the Clerk’s Office upon

the filing of this motion.


Dated: October 6, 2022                              /s/ Kenneth M. Thomas
                                                    Kenneth M. Thomas, Esq.
                                                    FOX SWIBEL LEVIN & CARROLL LLP
                                                    200 W. Madison Street, Suite 3000
                                                    Chicago, IL 60606
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